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                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                  TAMPA DIVISION
UNITED STATES OF AMERICA
v.                                                Case No.8:11-cr-356-T-30EAJ

VALARIAN J. BROWN
__________________________/
                                       ORDER

      This cause comes on for consideration of Defendant’s Pro Se

Motion for a New Trial Pursuant to Rule 33 of the Federal Rules of

Criminal Procedure (D-324), the Government’s response in opposition

thereto (D-326), Defendant’s reply (D-329), the Government’s Sur

Reply (D-334), filed at the Court’s direction, and Defendant’s Reply

to the Government’s Sur Reply (D-335).

      Defendant and three co-defendants, Antonio Smith (Defendant’s

cousin), Derrick Spann (Smith’s brother and Defendant’s cousin), and

Bibal    Francis,   were    charged    in    a    three-count      Indictment   with

conspiracy to possess with the intent to distribute five (5)

kilograms or more of a mixture of substance containing a detectable

amount    of   cocaine,    conspiracy       to    possess   with    the   intent   to

distribute a mixture or substance containing a detectable amount of

marijuana, and possession with the intent to distribute 500 grams

or more of a mixture or substance containing a detectable amount of

cocaine in violation of 21 U.S.C. §§ 841(a)(1), (b)(1)(A)(ii),

(b)(1)(B)(ii), (b)(1)(C), and 846.               The drug conspiracy charged in

the Indictment spanned from 2003 to June 2011, involved various co-
conspirators     not   charged    in   the       Indictment,   and   included      the

transport of large quantities of cocaine and marijuana from Texas
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to Florida, where Defendant and his co-conspirators would further

distribute the drugs.       Initially, the drugs were transported via

truck.    In 2010, the conspirators started shipping the drugs to

Florida via mail.      In 2011, they returned to transporting the drugs

to Florida by truck.

      Defendant and others were arrested on June 3, 2011, in the area

where a controlled delivery was scheduled to take place.              On June

4, 2011, law enforcement executed a search warrant on a stash house

controlled by co-defendant Antonio Smith.                At that time, law

enforcement found a kilogram cocaine wrapper in the trash.

      All three of Defendant’s co-defendants pled guilty prior to

trial.    Defendant’s trial commenced in December 2011.            Two of the

co-defendants, Spann and Francis, testified against Defendant. The

Government    also    presented    testimony     from    various   other   co-

conspirators who were involved in the conspiracy with Defendant.

A jury convicted Defendant of all three counts charged in the

Indictment. The Court imposed a mandatory life sentence as to Count

One, 30 years as to Count Two, and 364 months as to Count Three.

On   March   19,   2013,   the   Eleventh    Circuit    affirmed   Defendant’s

convictions and sentences.        United States v. Brown, 513 Fed. Appx.
830 (11th Cir. 2013) (per curiam).          On October 7, 2013, the Supreme

Court denied a petition for writ of certiorari.              Brown v. United

States, 134 S.Ct. 206 (2013).
I.    Motion for New Trial Based on Brady Violation

      Defendant requests a new trial based on a Brady v. Maryland,

373 U.S. 83 (1963), claim of newly discovered evidence.              Defendant


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contends that he learned after trial, but prior to his sentencing,

that several of the law enforcement officers who testified at

Defendant’s trial were investigated by the Pinellas County Sheriff’s

Office for acts of misconduct such as falsifying search and arrest

warrant affidavits, fabricating evidence, and coercing cooperating

witnesses to make false or misleading statements and to testify

falsely in other cases.          According to Defendant, the internal

affairs investigation, which concluded some time after the trial,

ultimately resulted in the resignation or dismissal of some of the

officers.

      Defendant    argues    that     the   Government       was   aware   of   the

investigation into the officers’ conduct but failed to disclose the

information to defense counsel.             Defendant contends that had he

known of the ongoing investigation into the officers’ conduct, it

would have altered his trial strategy and “would have presented

numerous different variations on how the defense prepared for trial,

if the case went to trial at all.”           (D-324, p. 6.)

      The Government responds that, at some time before trial, it

became aware of an internal affairs investigation of Pinellas County

Sheriff’s    Detective      Jeffrey    McConaughey,      a    Drug   Enforcement

Administration Task Force Agent who was the case agent on the 2011

portion of the investigation in this case.                    According to the

Government, the Sheriff’s Office would not disclose the nature of

the internal affairs investigation of McConaughey as disclosure was

prohibited under Florida law.          After the completion of the trial,

the Government learned that the internal affairs investigation


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involved McConaughey not paying a confidential informant $200 but

documenting       that    he     did     so.        According     to   the     Government,

McConaughey was not criminally charged and resigned in 2012 before

any sanctions were levied against him.

      The Government argues that its failure to advise Defendant

about the internal affairs investigation involving McConaughey does

not entitle Defendant to a new trial.                     The Government points out

that it did not call McConaughey as a witness at trial and instead,

Detective Levi Cabarras, a DEA Task Force Agent who led the 2005

portion of the investigation, became the acting case agent.                              The

Government argues that the evidence regarding the internal affairs

investigation is irrelevant and merely impeaching and that Defendant

fails to show that there is a reasonable probability the outcome of

the   case   would       have    been     different       had    he    known    about    the

investigation.

      In his traverse brief, Defendant disputes that the evidence is

merely impeachment evidence. He further argues that law enforcement

Officers Jason Bahret, Michael Papamichael, and Brian Beery all

testified    at    trial       and     were    under     the    same   internal    affairs

investigation.       He suggests that his co-Defendants would not have

pled guilty and testified against him had they been aware of the

internal affairs investigation regarding the officers.                           Defendant

also requests appointment of counsel.

      The    Government         states    in       its   sur   reply    that,    based    on

information from Captain Mark Baughman, the supervisor for the

Pinellas County Sheriff’s Office Narcotics Unit, the investigation


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into Jason Bahret and Michael Papamichael did not begin until after

the completion of Defendant’s trial, and, as such, there was nothing

to disclose to Defendant as to these officers.           It further points

out that Papamichael was not a witness at trial.

      The Government states it is unaware of any person named “Brian

Beery.”     It states that Bernard Berry with the Tampa Police

Department was listed on its witness list (see D-218), but that

there is no evidence that he was the target of any internal affairs

investigation, let alone one by an agency where he is not employed.

Detective Berry did not testify at trial.

      Pursuant to Brady, “the prosecution is required to disclose to

the defense evidence favorable to the accused if the evidence is

material to guilt or punishment.”         United States v. Starrett, 55

F.3d 1525, 1555 (11th Cir. 1995) (per curiam).             To obtain a new

trial on the basis of a Brady claim of newly discovered evidence,

a defendant must show that: (1) the government possessed evidence

favorable to him; (2) the defendant did not possess the evidence and

could not have discovered the evidence with reasonable diligence;

(3) the prosecution suppressed the favorable evidence; and (4) had

the evidence been revealed to the defendant, there is a reasonable

probability that the outcome of the proceedings would have been

different.1     United States v. Vallejo, 297 F.3d 1154, 1164 (11th

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          As Defendant asserts new discovered evidence based on a Brady
 violation, the Court utilizes the Brady standard instead of the standard
 for a Rule 33 motion based on newly discovered evidence. United States
 v. Cook, 170 Fed. Appx. 639, at 640 (11th Cir. 2006) (per curiam); accord
 United States v. Snipes, 751 F.Supp. 2d 1279 (M.D. Fla. 2010), aff’d by

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Cir. 2002).    A defendant must meet all the elements to be entitled

to a new trial.

      Defendant fails to meet this test with regard to Jason Bahret,

Michael Papamichael, Brian Beery, and Bernard Berry.             A review of

the trial transcript demonstrates that neither Michael Papamichael,

Brian Beery, nor Bernard Berry were testifying witnesses.           In fact,

there is no evidence that Brian Beery was in any way involved in the

investigation     leading    up   to   the   prosecution    of    Defendant.

Furthermore, the Government did not possess or suppress any Brady

evidence     relating   to   Papamichael     or   Bernard    Berry.      The

investigation into Papamichael did not commence until after the

conclusion of Defendant’s trial. Finally, there is no evidence that

Bernard Berry, who is not employed by the Pinellas County Sheriff’s

Office, was ever under any investigation.

      While Jason Bahret testified at trial, Defendant has not

presented any actual evidence that Bahret was under investigation

prior to the trial. To the contrary, the Government states that the

internal affairs investigation related to Bahret did not commence

until after the trial in this case. As such, the Government did not

either possess or suppress any exculpatory evidence as it relates

to Bahret.

      With regard to McConaughey, the Government concedes that



 440 F.Appx. 709 (11th Cir. 2011).


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Defendant has met the first, second, and third prongs of the Brady

test.2       In that regard, the Government admits that it was aware,

prior to trial, that McConaughey was under investigation and that

said evidence would have been favorable to Defendant.                         Further,

Defendant did not possess the evidence nor could he have obtained

it with any reasonable diligence.                  Additionally, the Government

suppressed the favorable evidence until the conclusion of the trial.

      Thus,        the    sole   issue   is   whether   there     is   a    reasonable

probability that the outcome would have been different had the

Government disclosed to Defendant prior to trial the evidence

relating      to    the    investigation      of   McConaughey.        A   “reasonable

probability” is “a probability sufficient to undermine confidence

in the outcome.”           United States v. Bagley, 473 U.S. 667, 682, 105

S.Ct. 3375, 3383, 87 Led.2d. 481 (1985). “The mere possibility that

an item of undisclosed information might have helped the defense or

might have affected the outcome of the trial does not establish

materiality in the constitutional sense.” United States v. Bodison,

523 Fed. Appx. 601, 608 (11th Cir. 2013) (per curiam) (citing United
States v. Agurs, 427 U.S. 97, 109-10, 96 S.Ct. 2392, 2400, 49

         2
        The Court notes that, while the Government concedes Defendant has
 met three prongs of the Brady test, there is non-binding authority
 supporting an argument that the Government had no obligation to disclose
 the internal affairs investigation to Defendant. In United States v.
 Ballesteros, No. 11-20698-CR, 2012 WL 3639059, at *3-4 (S.D. Fla Aug. 24,
 2012), the court found that the government’s failure to disclose the fact
 that an officer was charged with official misconduct and grand theft in
 handling an unrelated case did not entitle the defendant to a new trial.
 The court explained that the government had no obligation to disclose the
 evidence because the officer was never called as a witness in the case.
 Id.

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L.Ed.2d 342 (1976)).

       The Court finds that Defendant has failed to meet this prong

of the Brady test.          Specifically, Defendant has not shown that the

evidence of the internal investigation into McConaughey “would have

“put the whole case in such a different light as to undermine

confidence in the verdict.” Kyles v. Whitley, 514 U.S. 419, 434–37,

115 S.Ct. 1555, 131 L.Ed.2d 490 (1995) (footnote omitted).                First,

the information was not material as McConaughey did not testify at

trial.       See United States v. Haskell, 468 F.3d 1064, 1075 (8th Cir.

2006) (undisclosed impeachment evidence relating to an inmate was

not material and would not have changed how the government’s case

would have looked where the inmate did not testify at trial); see

also United States v. Ballesteros, No. 11-20698-CR, 2012 WL 3639059,

at    *3-4    (S.D.   Fla   Aug.   24,   2012)   (the   court   found   that   the

government’s failure to disclose the fact that an officer was

charged with official misconduct and grand theft in handling an

unrelated case did not entitle the defendant to a new trial because

the government had no obligation to disclose the evidence because

the officer was never called as a witness in the case).

       Second, there was ample evidence against Defendant to support

the    jury’s      verdict,     including     testimony    from    various     co-

conspirators.         For instance, David Thorbs testified that he began

making drug runs to transport cocaine from Texas to Florida for

Defendant and co-defendant Smith in 2004.                 He explained that in

2005, he and Thomas Rolle, Defendant’s uncle, made two drug runs.

However, on the second trip in March 2005, they were arrested.

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Thorbs was convicted and served 87 months and was no longer

incarcerated at the time of Defendant’s trial.

      Thomas Rolle, Defendant’s uncle, testified that Defendant asked

him to take two trips from St. Petersburg to Houston and back with

Thorbs.    During the second trip, they were stopped while returning

to St. Petersburg with the drugs and arrested by law enforcement.

Rolle was serving a 20-year sentence at the time of Defendant’s

trial.

      Tayari Cohen, Thorbs’ stepson, testified that in 2005 Thorbs

was transporting drugs from Texas to Jacksonville and St. Petersburg

for Defendant and co-defendant Smith.        Cohen admitted to purchasing

marijuana and cocaine from Defendant from 2005 until May 2007.             He

estimated having 20 to 25 transactions with Defendant.

      Joseph Pittman testified that once he waited at a location for

a postal worker to deliver a package and then he brought the package

to Bibal Francis’ house and left it in the car as directed by

Defendant. In May 2011, Pittman drove to Ocala to meet Henry Morant

to pick up a package for co-Defendant Smith. Pittman suspected that

the package, which he brought to Smith, contained drugs.

      Pittman testified that on June 3, 2011, Defendant told him they

were going to meet some strippers in Tampa.          Pittman recalled that

Defendant used Pittman’s phone on several occasions that day.

Pittman overheard part of one of Defendant’s conversations and

assumed Defendant was planning a drug deal.              After confronting

Defendant, Defendant said he was going to pick up some weed and a

“brick.”    Pittman was arrested shortly thereafter.


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       Co-Defendants Spann and Francis both testified extensively

 about the drug activities they were involved in with Defendant and

 co-defendant Smith. Co-conspirator Henry Morant testified regarding

 he and Spann mailing marijuana and eventually cocaine from Texas to

 the St. Petersburg and Tampa areas.               He explained that Defendant,

 Francis and Smith were “working on the Florida end.”                         He also

 testified that on 20 to 30 occasions he drove drugs from Texas to

 Florida to deliver them to Defendant and Smith.

       While Defendant argues that, had the Government disclosed the

 internal affairs investigation to the defense, “it is likely that

 some, if not all, of Brown’s co-defendants would not have agreed to

 cooperate”    (D-329,    p.     4),   his    claim     is     mere    speculation.

 Furthermore, the testimony of co-conspirators Thorbs, Rolle, and

 Cohen   related   to    times   during      the    conspiracy      that   pre-dated

 Detective McConaughey’s involvement.                In light of the evidence

 presented at trial, only some of which is detailed above, the Court

 finds that Defendant has not shown a reasonable probability that the

 outcome of the trial would have been different had the Government

 disclosed the internal affairs investigation of McConaughey to

 Defendant.    Defendant therefore is not entitled to a new trial.
 II.   Defendant’s Reply to the Government’s Sur Reply Claiming
       Prosecutorial Misconduct

       On   December    13,    2013,   Defendant       filed    a     reply   to   the

 Government’s sur reply.         (D-335.)      This reply was filed without

 permission of the Court in violation of Local Rule 3.01(c), M.D.

 Fla., and is due to be stricken.

       Even if the filing were not stricken, Defendant would not be

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 entitled to relief. Defendant seeks to add a claim of prosecutorial

 misconduct to his original motion for new trial. Defendant contends

 that the Government knowingly presented perjured testimony at his

 trial. Specifically, Defendant asserts that the Government allowed

 witness Henry Morant to testify falsely.              Defendant points out that

 when Morant debriefed to law enforcement he admitted that he had

 never met Defendant face to face and would not be able to recognize

 him from a photograph.         (D-335-1, p. 9, 16.) However, at trial he

 testified that Derrick Spann introduced him to Defendant at a park.

 (D-27, p. 112-13.)         Defendant speculates that Morant testified

 falsely at the direction of McConaughey.                     Defendant, however,

 presents no evidence supporting this claim.

       In any event, this claim is untimely, and, as such, Defendant

 is   not   entitled   to   a   new   trial.       Pursuant       to   Rule   33(b)(2)

 Fed.R.Crim.P.,    a   claim    based     on    any    ground     other   than   newly

 discovered evidence must be filed within 14 days after the verdict.

 That Morant’s testimony was in contradiction to the statements he

 made at his debriefing is not newly discovered evidence as it was

 known to Defendant at the time of trial.                    The trial transcript

 demonstrates that Defendant’s trial counsel was aware of Morant’s

 debriefing.       Defense      counsel     attempted        to   impeach     Morant’s

 credibility    when   he    asked    him      about   his    interview       with   law

 enforcement and stated, “they asked you specifically, did they not,

 “Have you ever met face to face with ‘Cuz,’” and you told them that

 you’ve never met face to face with ‘Cuz;’ isn’t that right?”                        (D-

 279, p. 114, l. 22-24.)         Morant responded that he didn’t remember


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 saying that.    (Id. at l. 24.)     Defense counsel continued, “And you

 also told them, did you not, that you couldn’t recognize ‘Cuz’ from

 a photograph; is that right?”        (Id. at p. 115, l. 1-2.)        Morant

 responded, “I don’t remember saying that either.”           (Id. at l. 3.)

 The Government objected when defense counsel asked Morant, “You

 don’t remember saying, “Listen, I’m not going to lie to you.               I

 couldn’t identify ‘Cuz’ because I’ve never met him face to face”?

 You don’t remember saying that?” (Id. at l. 4-8.)                The Court

 overruled that objection and Morant answered, “I don’t remember

 saying that.” (Id. at l. 10-12.) As Defendant’s claim is not based
 on evidence he discovered after trial, and his request for new trial

 based on prosecutorial misconduct is untimely, he is not entitled

 to relief.
 III. Defendant’s Request for Appointment of Counsel

       Defendant requests appointment of counsel. However, the right

 to counsel does not attach to a post-appeal Rule 33 motion.          United

 States v. Berger, 375 F.3d 1223, 1226 (11th Cir. 2004) (per curiam).

 Appointment of counsel in such a matter is left to the district

 court’s discretion. Id. The Court does not find that the interests
 of justice require appointment of counsel in this matter.

       IT is therefore ORDERED that:

       1)    Defendant’s Pro Se Motion for a New Trial Pursuant to Rule

 33 of the Federal Rules of Criminal Procedure (D-324) is DENIED.

       2)    Defendant’s Reply to the Government’s Sur Reply (D-335)

 is STRICKEN.

       3)    Defendant’s request for appointment of counsel is DENIED.

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       DONE AND ORDERED in Tampa, Florida, this January 9, 2014.




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